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                       EXHIBIT 5
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                                                         EXHIBIT 5



                                  No. 20A54


            IN THE SUPREME COURT OF THE UNITED STATES


                PENNSYLVANIA DEMOCRATIC PARTY, ET AL,

                                                    Plaintiffs-Respondents,
                                      v.

KATHY BOOCKVAR, IN HER OFFICIAL CAPACITY AS PENNSYLVANIA SECRETARY OF STATE,
                                  ET AL.,

                                                    Defendants-Respondents,
                                     and

                  REPUBLICAN PARTY OF PENNSYLVANIA,

                                                     Intervenor-Applicant.



            Application from the Supreme Court of Pennsylvania

                             (No. 133 MM 2020)


 REPLY IN SUPPORT OF EMERGENCY APPLICATION FOR STAY PENDING
      DISPOSITION OF A PETITION FOR A WRIT OF CERTIORARI


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      Respondents’ Oppositions to the Emergency Application for Stay only

underscore that this Court should follow the rule it set forth earlier this year and

enter a modest stay of the Pennsylvania Supreme Court majority’s non-postmarked

ballots presumption. See Republican Nat’l Comm. v. Democratic Nat’l Comm., 140 S.

Ct. 1205, 1207 (2020). Respondents acknowledge that the questions presented are

“of overwhelming importance for States and voters across the country” because

numerous courts are addressing “state election-law provisions . . . similar to” those at

issue here.   Pa. Dems. Br. 9; see also Sec’y Br. 2–3.        Thus, even though they

erroneously challenge the standing of the Republican Party of Pennsylvania (RPP)

and this Court’s jurisdiction, Respondents ask the Court to resolve the questions

presented in this case. See Pa. Dems. Br. 9; Sec’y Br. 2–3.

      Respondents’ various arguments on the merits confirm RPP’s answers to those

questions. Respondents do not dispute that the General Assembly’s Election Day

received-by deadline contains “no ambiguity.” A.34. Respondents also do not dispute

that the received-by deadline is “facially []constitutional” and that setting such a

deadline “is fully enshrined within the authority granted to the Legislature under the

United States and Pennsylvania Constitutions.” A.34–36. And Respondents do not

dispute that the majority both ignored the factual findings it commissioned Judge

Leavitt to make in a companion case and rejected the three dissenting justices’ plea

to adopt a narrower remedy that would have more faithfully upheld the General

Assembly’s “clear legislative intent.” A.87–90; see also Bush v. Palm Beach Cnty.

Canvassing Bd., 531 U.S. 70, 76–77 (2000) (per curiam); RPP Appl. 29–34.



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      As RPP already has shown, those facts alone demonstrate that a stay is

warranted to halt the majority’s “fundamental[] alter[ation]” of the imminent general

election in which millions of Pennsylvanians will cast their votes. Republican Nat’l

Comm., 140 S. Ct. at 1207; see also RPP Appl. 19–39. Respondents’ various attempts

to gloss over the critical federal-law and constitutional issues raised by the

Pennsylvania Supreme Court’s judgment, to recast the questions presented, and to

disregard the clear thrust of federal law, the U.S. Constitution, and this Court’s

precedents do nothing to change that result. The Court should grant a stay.

                  REASONS TO GRANT THE APPLICATION

I.    RPP HAS STANDING TO RAISE THE FEDERAL QUESTIONS
      PRESENTED

      RPP has standing to seek this Court’s review on the federal questions

presented and to request a stay of the judgment in this case brought by its

counterpart, the Pennsylvania Democratic Party. See, e.g., Bush v. Gore, 531 U.S. 98

(2000) (resolving on the merits petition for certiorari brought by a presidential

candidate stemming from state-court election contest filed by the other major

candidate).   Evidence that RPP submitted below establishes that RPP has

associational and organizational standing to protect its legally cognizable interest in

the election rules established by state law, including the Election Day received-by

deadline, that is harmed by the Pennsylvania Supreme Court’s judgment.

      In particular, RPP submitted an affidavit from Ms. Melanie Stringhill

Patterson, a registered Pennsylvania voter and “registered member of [RPP].” RA.7

¶ 4. Ms. Patterson intends to vote in person in the 2020 general election and “do[es]


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not want [her] vote diluted or cancelled by votes that are cast in a manner contrary

to the requirements enacted by the Pennsylvania General Assembly.” RA.8 ¶ 5. She

therefore has an interest in upholding “the rules established by the General Assembly

in the Election Code” that is harmed by the majority’s judicial extension of the

received-by deadline and non-postmarked ballots presumption.          RA.8 ¶ 6.   RPP

sought intervention—and has associational standing to invoke this Court’s certiorari

review—“on behalf of itself and its members, including its voters” like Ms. Patterson.

RA.2 ¶ 7; see Hunt v. Wash. State Apple Advert. Comm’n, 432 U.S. 333, 343 (1977).

      RPP also submitted the affidavit of its executive director, Ms. Vonne Andring.

Ms. Andring described RPP’s expenditure of “substantial resources toward educating,

mobilizing, assisting, and turning out voters in Pennsylvania,” including its Election

Day Operations (“EDO”) and training programs. RA.2–3 ¶¶ 8–11. Those efforts

“rel[y] upon, utilize[], and [are] built upon the clear language of the Election Code.”

RA.3 ¶ 12. Accordingly, any judicial order requiring election officials to administer

elections in a manner inconsistent with the Pennsylvania Election Code results in

“the resources and efforts which the RPP ha[s] expended on its EDO, training

programs, and voter education programs [being] wasted.” RA.4–5 ¶ 18. And any such

order requires RPP “to expend substantial new additional resources and effort on

overhauling its EDO, training programs, and voter education programs to reflect the

changes in Pennsylvania’s . . . election administration scheme.” RA.5 ¶ 19.

      The majority’s extension of the received-by deadline and non-postmarked

ballots presumption exacerbate this harm to RPP. In particular, RPP recruits, trains,



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and organizes poll workers, poll watchers, lawyers, and volunteers to attend and

observe county canvasses where absentee and mail-in ballots are opened and counted.

RA.4–5 ¶¶ 14, 20.      The majority’s remedy therefore compels RPP “to devote

significant new resources to recruiting, organizing, and training additional poll

workers, poll watchers, lawyers, and volunteers to attend and observe the expanded

number of days on which election officials will receive, open, and count absentee and

mail-in ballots.” RA.5 ¶ 20. Such a diversion of and “drain” on RPP’s resources

establishes its organizational standing to seek this Court’s stay and review. See, e.g.,

Havens Realty Corp. v. Coleman, 455 U.S. 363, 379 (1982).

      These affidavits more than suffice to counter Respondents’ claims that RPP

lacks standing and their erroneous contention that RPP is raising a mere

“generalized grievance.” Sec’y Br. 12; Pa. Dem. Br. 14. They also demonstrate RPP’s

concrete and particularized harm from the majority’s judgment and, thus, distinguish

this proceeding from the cases Respondents cite, which involved different evidence

and legal issues. See, e.g., Republican Nat’l Comm. v. Common Cause R.I., No. 20A28,

2020 WL 4680151, at *1 (U.S. Aug. 13, 2020) (holding that a political party had no

“cognizable interest” in a Purcell challenge to a consent decree where no state official

objected to the decree and the decree kept in place a rule under which voters had

voted in the prior election); Democratic Nat’l Comm. v. Bostelmann, Nos. 20-2835 &

20-2844, 2020 WL 5796311, at *1 (7th Cir. Sept. 29, 2020) (overlooking organizational

injuries and erroneously suggesting that a political party has associational standing

to appeal only if it claims a violation of its members’ “constitutional rights”).



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      In addition to challenging RPP’s standing, Respondents make the baffling

argument that because the Pennsylvania Supreme Court rested its judgment on the

Pennsylvania Constitution, that judgment does not present a federal question. See

Sec’y Br. 9–11, 14; Pa. Dems. Br. 22–26. Respondents thus conspicuously ignore this

Court’s decisions in Palm Beach County and Bush, in which the Court reviewed, for

compliance with the U.S. Constitution, Florida Supreme Court judgments resting on

the Florida Constitution. See, e.g., Palm Beach Cnty., 531 U.S. at 76–77; Bush, 531

U.S. 98. And they also overlook basic preemption principles establishing that a state

law or judgment is superseded by contrary federal law. Foster v. Love, 522 U.S. 67,

69 (1997); RPP Appl. 20–22; see U.S. Const. art. VI, cl. 2 (“The Constitution, and the

Laws of the United States . . . shall be the supreme Law of the Land; and the Judges

in every State shall be bound thereby, any Thing in the Constitution or Laws of any

State to the Contrary notwithstanding.”) (emphasis added). This Court thus has

jurisdiction to review and reverse the Pennsylvania Supreme Court’s judgment and

to grant a stay pending review.

II.   THERE IS A “REASONABLE PROBABILITY” OF CERTIORARI AND
      A “FAIR PROSPECT” OF REVERSAL

      By effectively “[e]xtending the date by which ballots may be cast by voters

[until] after” Election Day, Republican Nat’l Comm., 140 S. Ct. at 1207, the

Pennsylvania Supreme Court’s non-postmarked ballots presumption violates both

federal law and the Constitution and presents critical questions for this Court’s

review, see RPP Appl. 19–34.




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      A.     The Pennsylvania Supreme Court’s Remedy Violates Federal
             Law

      The majority’s judicially imposed non-postmarked ballots presumption “ceases

to be operative” because it allows untimely cast or mailed ballots to count in

contravention of a trio of federal statutes that create a uniform nationwide federal

Election Day. Foster, 522 U.S. at 69 (1997); Ex parte Siebold, 100 U.S. 371, 384 (1879);

see also 3 U.S.C. § 1; 2 U.S.C. §§ 1, 7; RPP Appl. 20–22.

      Respondents agree that “[f]ederal law prohibits the counting of ballots cast

after Election Day.” Sec’y Br. 14; Pa. Dems. Br. 14–16. Having conceded that point,

they are left to argue that adoption of a “reasonable” “rebuttable presumption” is a

permissible way “to determine whether a ballot was properly cast by Election Day.”

Pa. Dems. Br. 17–20; Sec’y Br. 17–19; Gov’t Officials Amici Br. 11–13. Not so.

      First, Respondents attempt to change the subject and spill considerable ink

defending the practice of “counting votes received after Election Day as long as the

ballots were mailed by Election Day.” Pa. Dems. Br. 16; id. at 14–21; Sec’y Br. 14–

19. But RPP has not sought a stay of counting ballots cast before but received after

Election Day: rather, it has shown that the majority’s non-postmarked ballots

presumption is an impermissible way to determine whether such ballots were cast

before Election Day. See RPP Appl. 21–22. Accordingly, Respondents’ reliance on

the laws of other states, or laws involving military and overseas ballots, is entirely

misplaced. Pa. Dems. Br. 16–17 & n.8, 18 & nn.11, 12, 13, 21 & n.15; Sec’y Br. 15–

17; Luzerne Cnty. Br. 2–8.      Invalidating the majority’s non-postmarked ballots

presumption would have no effect on the vast majority of these provisions, which do


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not rely upon presumptions but instead upon other methods—including voter

declarations—to determine whether a ballot was timely cast. 1 E.g., 25 Pa. C.S. §

3511(b). And the two statutes Respondents cite that impose presumptions akin to

the one at issue here are the subject of separate litigation. RPP Appl. 36 (citing

Donald J. Trump for President, Inc. v. Cegavske, No. 2:20-cv-01445 (D. Nev.); Donald

J. Trump for President, Inc. v. Murphy, No. 3:20-cv-10753 (D.N.J.)). 2

      Second, Respondents argue the presumption is necessary to prevent voters

from being “disenfranchise[d]” through “no fault of their own” due to the

“unpredictable and uncontrollable actions of busy postal employees.” Pa. Dems. Br.

20; Sec’y Br. 16–18. But this argument proves far too much. After all, all absentee

and mail-in electoral schemes subject ballots to invalidation due to circumstances

“beyond the[] control” of the voter. Sec’y Br. 10. For example, in the 2018 election,

Pennsylvania rejected 8,162 ballots returned by mail—4.17% of all such ballots—

because they were received after the Election Day received-by deadline. 3 Some of


      1
        The Secretary notes that “the mail-in ballot envelope contains a Voter’s
Declaration that must be signed and dated” by the voter. Sec’y Br. 16. To the extent
the Secretary maintains that the date requirement redresses any harm from postal
delays, the non-postmarked ballots presumption is unnecessary—and the majority
erred in adopting that presumption by judicial fiat. See RPP Appl. 20–22.
      2 The Secretary also points to provisions of New York and West Virginia law
that allow the counting of non-postmarked ballots received “no later than the day
after the election.” W. Va. Code § 3-3-5(g)(1); N.Y. Elec. Law § 8-412. That timeline,
of course, makes it impossible for such votes to have been cast after Election Day. See
Republican Nat’l Comm., 140 S. Ct. at 1206.
      3  See U.S. Election Assistance Comm’n, EAC 2018 Data Visualization Tool,
https://public.tableau.com/profile/u.s.election.assistance.commission#!/vizhome/EAV
S2018DataViz-Labeld_11_25/ EACDataVizTool (last visited Oct. 6, 2020) (select “PA”
and “C4b By-mail Rejected: Deadline”); see also U.S. Election Assistance Comm’n,


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those ballots were undoubtedly rejected due to postal delivery delays or the vagaries

of the mail service that lie outside the control of any individual voter, yet even the

majority had no difficulty deeming that deadline “facially []constitutional.” A.34.

      Indeed, the majority’s own remedy—which Respondents advocated for—

operates in similar fashion: it invalidates any and all ballots that arrive after the

majority’s judicially crafted deadline of 5:00 p.m. on November 6, 2020, regardless of

the reason for the late arrival. See A.63–64. Thus, even the majority’s presumption

does not solve the problem Respondents purport to identify.

      To be sure, a legislature could create additional safeguards against postal

delays. Here, however, the Election Day received-by deadline reflects a legislative

judgment that the importance of ensuring all ballots are cast on or before Election

Day, RPP Appl. 25–26, outweighs the risk that ballots cast by voters who choose to

vote by mail could be disqualified due to circumstances beyond their control. 4

Respondents identify no basis for the Pennsylvania Supreme Court majority to

substitute its policy preference for the constitutional judgment of the General




Election Administration and Voting Survey 30 (June 2019) (reporting that
Pennsylvania rejected a total of 8,714 ballots returned by mail in the 2018 election
representing          4.45%             of         all        such          ballots),
https://www.eac.gov/sites/default/files/eac_assets/1/6/2018_EAVS_Report.pdf.
      4
        At the same time, the General Assembly has gone to great lengths to mitigate
this risk. For example, applications for absentee or mail-in ballots may be filed 50
days prior to Election Day—the longest such period in the country—giving voters
more than enough time to request and submit their ballots. See RPP Appl. 5. And if
that generous timeline proves insufficient, voters may return their ballots in person
at the offices of county boards of elections any time prior to 8:00 p.m. on Election Day.
See 25 Pa. Stat. §§ 3146.6(a), 3150.16(a).


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Assembly. See infra Part II.B; cf. Andino v. Middleton, No. 20A55, 2020 WL 5887393,

at *1 (U.S. Oct. 5, 2020) (Kavanaugh, J., concurring) (“[A] State legislature’s decision

either to keep or to make changes to election rules to address COVID–19 ordinarily

‘should not be subject to second-guessing by an unelected federal judiciary, which

lacks the background, competence, and expertise to assess public health and is not

accountable to the people.’”).

      Finally, Respondents maintain that RPP failed to adduce evidence that

ultimately votes will be counted under the majority’s non-postmarked ballots

presumption. Pa. Dems. Br. 19–20; Sec’y Br. 15. The argument is ironic, given that

the presumption flies in the face of the only factual findings before the Pennsylvania

Supreme Court. See RPP Appl. 8–10. It is also wrong, as those findings demonstrate.

According to Judge Leavitt—whose findings the Secretary now “urge[s] this Court to

credit,” Sec’y Br. 25 n.16—“[m]ore than 98%” of ballots will be “delivered within 1

day,” A.131, making it almost certain that any non-postmarked ballot received two

or three days after Election Day will have been untimely cast. That reality should be

troubling given the results of the April 2020 Wisconsin primary, where “many ballots

arrived with no postmarks, two postmarks or unclear postmarks.” Democratic Nat’l

Comm. v. Bostelmann, No. 20-cv-249, 2020 WL 5627186, at *6 (W.D. Wis. Sept. 21,

2020), stay entered, Nos. 20-2835 & 20-2844 (7th Cir. Sept. 27, 2020), stay vacated,

Nos. 20-2835 & 20-2844 (7th Cir. Sept. 29, 2020). There is thus nothing “reasonable”

about the majority’s presumption.




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      B.     The Pennsylvania Supreme Court’s Remedy Violates the U.S.
             Constitution

      The majority’s judicial rewrite of the Election Day received-by deadline and

accompanying presumption usurps the General Assembly’s plenary authority to

“direct” the “Manner” for appointing electors for President and Vice President, U.S.

Const. art. II, § 1, cl. 2, and broad power to prescribe “[t]he Times, Places and Manner”

for congressional elections, id. art. I, § 4, cl. 1; Palm Beach Cnty., 531 U.S. at 77; cf.

Andino, 2020 WL 5887393, at *1 (Kavanaugh, J., concurring). It therefore violates

the Electors and Elections Clauses. RPP Appl. 20–36. Respondents’ arguments to

the contrary are unavailing.

      First, Respondents invoke the majority’s statement in Arizona State

Legislature v. Arizona Independent Redistricting Commission—which did not involve

the Electors Clause—for the proposition that the Elections Clause does not “instruct[]

. . . that a state legislature may prescribe regulations on the time, place, and manner

of holding federal elections in defiance of provisions of the State’s constitution.” 576

U.S. 787, 817–18 (2015) (cited at Sec’y Br. 19–20, Pa. Dems. Br. 27). But as RPP has

explained, that proposition is of no moment here. See RPP Appl. 29–30. That case

involved a state constitution’s requirements for the “lawmaking process[],” 576 U.S.

at 824 (emphasis added); see also id. at 841 (Roberts, C.J., dissenting), and all such

requirements were satisfied when the General Assembly enacted the Election Day

received-by deadline, see RPP Appl. 29. Moreover, to the extent that the Arizona

State Legislature majority was referring to substantive limits on lawmaking

enshrined in a State Constitution, that statement is dicta that the majority did not


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reconcile with prior pronouncements of the Court. See id. at 29–30. Indeed, “[t]his

case is governed . . . by the Federal Constitution,” and “[i]n a conflict between the

[Pennsylvania] Constitution and the Elections Clause, the State Constitution must

give way.” Ariz. State Legislature, 576 U.S. at 827 (Roberts, C.J., dissenting).

      Second, Respondents and amici claim that the Elections and Electors Clauses

are satisfied here, because the Free and Equal Elections Clause of the Pennsylvania

Constitution was “effectively approved” by the General Assembly. Gov’t Officials

Amici Br. 3–7; Pa. Dems. Br. 30–31. Setting aside the fact that the Clause was

actually approved by the Commonwealth’s voters, the Florida Legislature played a

similar role in the adoption of the relevant provisions of the Florida Constitution at

issue in Palm Beach County. See Mary E. Adkins, The Same River Twice: A Brief

History of How the 1968 Florida Constitution Came to Be and What It Has Become,

18 Fla. Coastal L. Rev. 5, 19–21 (2016). 5 That did not stop this Court from criticizing

the Florida Supreme Court’s efforts to “‘circumscribe the legislative power,’” Palm

Beach Cnty., 531 U.S. at 77 (citation omitted), nor did it preclude three Justices from




      5  Contrary to Amici’s claim, Gov’t Officials Amici Br. 9 n.5, this fact was
presented to this Court in Palm Beach County. See, e.g., Reply Br. of Resps. Al Gore,
Jr. & Fla. Democratic Party at *15–16, Palm Beach Cnty., 531 U.S. 70 (No. 00-836),
2000 WL 1784898 (arguing that the Florida Legislature had “‘delegated to state
courts some authority over the manner [of] appointing electors’” by “clearly and
explicitly authorizing the Florida Supreme Court to interpret all of Florida law,
including the Florida Election Code” “by statute, as well as by the Florida
Constitution itself” (citation omitted)); id. at *16 n. 10 (noting that “[t]he Florida
Legislature is authorized to propose amendments to the state constitution” and that
“Article V, the provision governing the judicial branch and its jurisdiction, was
proposed by S.J. Res. 53-D in 1971 and subsequently ratified” (citations omitted)).


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urging this Court to undertake an “independent … analysis of state law” to identify

“significant departure[s] from the legislative scheme for appointing Presidential

electors.” Bush, 531 U.S. at 113–14 (Rehnquist, C.J., concurring).

      Third, the Secretary argues that the majority’s remedy did not violate the

Electors Clause because it preserves the General Assembly’s choice to select

Presidential electors “by popular vote.” Sec’y Br. 26. But the Electors Clause does

far more than safeguard a legislature’s choice of the manner of selecting electors

between “appoint[ment] by the legislatures,” “popular vote,” or “elect[ion] by

districts.” Id. After all, if the Electors Clause were as narrow as the Secretary

suggests, the Court could not have vacated the Florida Supreme Court’s decision in

Palm Beach County because that decision preserved the Florida Legislature’s choice

of a popular-vote method of selecting electors. See Palm Beach County Cnty., 531

U.S. at 76–77. In fact, the Electors Clause sweeps far more broadly, leaving “it to the

legislature exclusively to define the method of” selecting Presidential electors.

McPherson v. Blacker, 146 U.S. 1, 27 (1892); Palm Beach Cnty., 531 U.S. at 76–77;

Bush, 531 U.S. at 112–13 (Rehnquist, C.J., concurring).

      Finally, Respondents claim that “[a]ccepting RPP’s arguments would require

this Court to function as a nationwide state court of last resort.” Pa. Dems. Br. 26;

Sec’y Br. 11. The Pennsylvania Democratic Party, however, makes no effort to square

this prognostication with its request that the Court grant certiorari and review this

case on the merits. See id. at 9–14. Moreover, this prediction is simply incorrect.

The questions presented here arise under “the Federal Constitution,” not state law.



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       Case 3:20-cv-00215-KRG Document 59-7 Filed 10/26/20 Page 19 of 33




Ariz. State Legislature, 576 U.S. at 827 (Roberts, C.J., dissenting). This Court’s

review of the constitutional issue, therefore, is limited to preserving the authority

State Legislatures derive from the Electors and Elections Clauses. E.g., RPP Appl.

22–34.     State courts may not usurp that authority by imposing upon the State

Legislature and the State’s voters a “significant departure” from the State

Legislature’s duly enacted rules for conducting federal elections. See Bush, 531 U.S.

at 112–13 (Rehnquist, C.J., concurring).        The Pennsylvania Supreme Court

committed precisely such a usurpation when, by judicial fiat, it adopted a remedy

irreconcilable with the plain text of the statutory scheme—in contravention of the

factual findings it commissioned—when a narrower remedy more consonant with the

General Assembly’s “clear legislative intent” was available. A.87; RPP Appl. 31–34.

III.   RPP WILL SUFFER IRREPARABLE HARM ABSENT A STAY, AND
       THE BALANCE OF THE EQUITIES CLEARLY FAVORS A STAY

       The equities also weigh strongly in favor of granting a stay. Such relief will

prevent irreparable harm to the Commonwealth, its voters, and RPP from a loss of

appellate rights, an election tainted by the counting of illegally cast and mailed

ballots, and the confusion of the majority’s eleventh-hour invalidation of the General

Assembly’s received-by deadline. See RPP Appl. 36–39.

       The Pennsylvania Democratic Party offers no arguments on the equities of a

stay. 6 For her part, the Secretary acknowledges that “the election cannot be held



       6The Party does note that Pennsylvania’s official guidance to voters informs
them that “mail-in ballots will be counted if they are ‘postmarked by 8 p.m. on
Election Day and received by [the relevant] county board of election by 5 p.m. the


                                         13
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twice,” Sec’y Br. 28, which, as RPP has explained, weighs heavily in favor of granting

a stay, see RPP Appl. 36–39.

      The Secretary’s other arguments on the equities all assume the correctness of

her position on the merits. In particular, the Secretary argues that “because of

COVID-19 and election-related delays in the mail service,” voters “will be

disenfranchised if a stay of the Pennsylvania Supreme Court’s order is entered.”

Sec’y Br. 28. But RPP has asked this court to determine whether votes cast and

mailed in violation of the rules established by Congress and the General Assembly

are “legally cast vote[s]” that may be counted in the imminent general election. Bush

v. Gore, 531 U.S. 1046, 1047 (2000) (Scalia, J., concurring); see also RPP Appl. 37.

The Secretary thus puts the cart before the horse—and her various arguments on the

equities fail for the same reason as her arguments on the merits. See supra Part II.

      Finally, the Secretary’s attempt to avoid a stay of the Pennsylvania Supreme

Court’s last-minute judgment under the Purcell principle, see Sec’y Br. 30–33,

likewise fails. The Secretary’s contention that this Court’s decision in Republican

National Committee turned on a special rule for “lower federal courts,” id. at 31,

ignores this Court’s animating concern regarding a “fundamental[] alter[ation]” of a

State’s election-administration regime at the eleventh hour, Republican Nat’l Comm.,

140 S. Ct. at 1207. And the “good reason[s] to avoid last-minute intervention in a

state’s election process” that the Secretary points to—“including disruption,



Friday after Election Day.’” Pa. Dems. Br. 11 (citation omitted). Staying the non-
postmarked ballots presumption would not affect the accuracy of this statement.


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confusion or other unforeseen deleterious effects,” Sec’y Br. 31 (citation omitted)—

apply equally to judgments of federal courts and state courts misconstruing federal

law and the U.S. Constitution.

      The Secretary’s follow-on suggestion that it is now too late to stay the

Pennsylvania Supreme Court majority’s last-minute judgment, see id. at 30–33, turns

Purcell on its head. The Purcell principle bars lower courts from making last-minute

changes to election rules; it does not prevent appellate courts from entering stays

when they do so. See, e.g., Purcell v. Gonzalez, 549 U.S. 1, 4–5 (2006). Indeed, the

Secretary’s suggestion that last-minute changes to election laws preclude such stays

has been described as “the legal definition of chutzpah.” Tex. Democratic Party v.

Abbott, 961 F.3d 389, 412 (5th Cir. 2020). Of course—as this Court explained in

Republican National Committee—appellate courts “would prefer not to” change

election rules again “at this late date,” “but when a lower court intervenes and alters

the election rules so close to the election date,” appellate courts “should correct the

error.” Republican Nat’l Comm., 140 S. Ct. at 1207; e.g., Merrill v. People First of

Ala., No. 19A1063 (U.S. July 2, 2020) (staying, 9 days before election, a preliminary

injunction entered 29 days before the election).         The Purcell principle thus

underscores that a stay is warranted here.

                                   CONCLUSION

      This Court should stay the Pennsylvania Supreme Court’s non-postmarked

ballots presumption.




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     Case 3:20-cv-00215-KRG Document 59-7 Filed 10/26/20 Page 22 of 33




                                      Respectfully submitted,



Date: October 6, 2020                   /s/ John M. Gore
                                      JOHN M. GORE
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                                        & ARTHUR LLP
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                                      Counsel for Applicant




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                         APPENDIX A
         Case 3:20-cv-00215-KRG Document 59-7 Filed 10/26/20 Page 24 of 33




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                of the Election Code, shall consist of the following bodies:
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      Case 3:20-cv-00215-KRG Document 59-7 Filed 10/26/20 Page 25 of 33




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     Case 3:20-cv-00215-KRG Document 59-7 Filed 10/26/20 Page 29 of 33




                       2-.         I declare under penalty of per.1ury that thi..J foregoing   ts   tru~ rind
           correct.

                       Afliant sayeth nothing Further.


           Executed on September                         25, 2020
            COMMONW EALTH OF PENNSYLV ANIA
                                                                    S5
            COUNTY OF ARMSTRON G
                Before me. a notary publ ic, in nncl for said county and slate persona ll y
          appeared Vonne Anuring, who wort: that Lht: informati on contained in d1e
          forego ing Affidavit is rmc and correct based upon her personal know ledge.

                      ll WITN ESS WHEREOF. I have hereto set my hanJ and s1:al on rhis f h..day
          or September, 2020.


Commonwr,.illh el f'enn:;ylv,irw1 - Mo13ry Seal
   Elizl'l\'lP.th A. Grihil1, Notary Pllblic
            eutler County
  My commission 1;1xplres March 2, 2022
     Commission number Uo-1623
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Case 3:20-cv-00215-KRG Document 59-7 Filed 10/26/20 Page 30 of 33




                         APPENDIX B
       Case 3:20-cv-00215-KRG Document 59-7 Filed 10/26/20 Page 31 of 33




                IN THE SUPREME COURT OF PENNSYLVANIA


Pennsylvania Democratic Party et al.,

                     Petitioners,

       v.                                                 No. 133 MM 2020

Kathy Boockvar et al.,

                     Respondents.



            AFFIDAVIT OF MELANIE STRING HILL PATTERSON


COMMONWEAL TH OF PENNSYLVANIA                     )
                                                  ) SS:
COUNTY OF ALLEGHENY                               )

       Melanie Stringhill Patterson, who having been first duly sworn, deposes and

states as follows:

       1.     I am an adult individual over the age of eighteen (18).

       2.     I reside in Belle Vernon, Fayette County, Pennsylvania.

       3.     I am a qualified registered elector in the Commonwealth of

Pennsylvania and registered member of the Republican Party of Pennsylvania.

       4.     As a Pennsylvania qualified registered elector, I have always voted in-

person at primary and general elections, and I intend to vote in-person at the

upcoming November 3, 2020 General Election.




                                        RA.7
      Case 3:20-cv-00215-KRG Document 59-7 Filed 10/26/20 Page 32 of 33




       5.     As a Pennsylvania qualified registered elector who votes in-person, I

do not want my vote diluted or cancelled by votes that are cast in a manner

contrary to the requirements enacted by the Pennsylvania General Assembly.

       6.     I believe that, to ensure the integrity of elections, all voters m

Pennsylvania must follow the rules established by the General Assembly in the

Election Code.    For voters who cast absentee or mail-in ballots, this includes,

without limitation, using an inner secrecy envelope without any marks, text, or

symbols which identify the person who voted the ballots, and filling in, signing,

and dating the declaration on the outside envelope. Also, voters who cast absentee

or mail-in ballots must mail or personally deliver their own ballots to the county

election board office rather than depositing them in unmonitored and unsecured

drop-boxes.    Further, non-disabled voters should not be allowed to have third-

parties deliver their absentee or mail-in ballots.

       7.     I declare under penalty of perjury that the foregoing 1s true and

correct.

      Affiant sayeth nothing further.

                          CY1·'"'-·
Executed on September -~- ' 2020




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                                         RA.8
          Case 3:20-cv-00215-KRG Document 59-7 Filed 10/26/20 Page 33 of 33




                                               ACKNOWLEDGEMENT

 COMMONWEAL TH OF PENNSYLVANIA                             )
                                                           )   SS:
COUNTY OF ALLEGHENY                                        )

      On this ?~ day of September, 2020, before me, a Notary Public, the
undersigned officer, personally appeared MELANIE                 STRINGHILL
PATTERSON, known to me ( or satisfactorily proven) to be the persons whose
name is subscribed to the within Affidavit and who swore that the information
contained in the foregoing Affidavit is true and correct based upon her personal
knowledge and acknowledged that she executed the same for the purpose therein
contained.

      IN WITNESS WHEREOF, I hereunto set my hand and official seal the day
and year first above written.




My commission expires:
Commonwealth of Pennsylvania • Notary Seal
    Tracie S. Turoczy, Notary Public
           Allegheny County
My commission expires September 27, 2023
     Commission number 1169533
Member, Pennsylvania Assoc1at1on of Notaries




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